                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE
                                AT KNOXVILLE
______________________________________________________________________________

Peggy Palmer,                                      )
                                                   )
              Plaintiff,                           )
                                                   )
v.                                                 ) Civil Action No. 3:14-CV-378
                                                   )
Resurgent Capital Services, LP, LVNV Funding, LLC, ) Jury Trial Demanded
Northland Group, Inc., and                         )
Financial Recovery Services, Inc.                  )
                                                   )
                                                   )
              Defendants                           )
                                                   )
____________________________________________________________            ____________

                                          COMPLAINT



                                        INTRODUCTION

       1.       This is an action for damages against the Defendants for violations of the Fair

Debt Collection Practices Act, 15 U.S.C. §§1692 et seq.



                                         JURISDICTION

       2.       Subject matter jurisdiction in this Court is proper pursuant to 15 U.S.C. §1692k(d)

and 28 U.S.C. §1331 (federal question jurisdiction).

       3.       This action arises out of violations of the Fair Debt Collection Practices Act, 15

U.S.C. §§1692 et seq. (hereafter referred to as “FDCPA”) by Defendant, in its illegal efforts to

collect a consumer debt.

       4.       Venue is proper in this District because the acts and transactions occurred here,


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Defendants transacts business here and Plaintiff resides here.



                           PARTIES AND PERSONAL JURISDICTION

        5.      The Plaintiff incorporates the allegations set forth in Paragraphs 1 through 4

above as if set forth fully herein.

        6.      Plaintiff, Peggy Palmer (hereafter referred to as “Plaintiff” and/or “Mrs. Palmer”)

is a resident of this State, District and Division who is authorized by law to bring this action.

        7.      Defendant Resurgent Capital Services, L.P. (hereinafter referred to as “Defendant

Resurgent”) is a “debt collector” as defined by 15 U.S.C. §1692a(6), and a foreign limited

partnership in Delaware with its principal office located at MAIL STOP 425, Suite 300, 55

Beattie Place, Greenville, SC 29601-2127 and maintains Corporation Service Company, 2908

Poston Avenue, Nashville, TN 37203-1312, as its registered agent for service of process.

        8.      Defendant LVNV Funding, LLC (hereinafter referred to as “Defendant LVNV”)

is a “debt collector” as defined by 15 U.S.C. §1692a(6), and a foreign limited liability company

in Delaware with its principal office located at Suite 3, 625 Pilot Road, Las Vegas, NV 89119-

4485 and maintains Corporation Service Company, 2908 Poston Avenue, Nashville, TN 37203-

1312, as its registered agent.

        9.      Defendant Northland Group, Inc. (hereafter referred to as “Defendant Northland”) is

a “debt collector” as defined by 15 U.S.C. §1692a(6), and a for-profit foreign corporation organized

in Minnesota with its principal office located at 7831 Glenroy Road, Suite 250, Edina, MN 55439-

3117 and maintains CT Corporation System, 800 S. Gay Street, Suite 2021, Knoxville, TN 37929-

9710, as its registered agent for service of process.

        10.     Financial Recovery Services, Inc. (hereafter referred to as “Defendant Financial”)



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is a “debt collector” as defined by 15 U.S.C. §1692A(6), and a foreign limited liability company

organized in Minnesota, with its principal office located at 4900 Viking Drive, Edina, MN

55435-5302 and maintains CT Corporation System, 800 South Gay Street, Suite 2021,

Knoxville, TN 37929-9710 as its registered agent.

        11.     Other defendants may be discovered in the course of litigation, and Plaintiff

respectfully prays that the Court will permit the addition of later discovered parties upon motion.



                                       FACTUAL ALLEGATIONS

        12.     The Plaintiff incorporates the allegations set forth in Paragraphs 1 through 10

above as if set forth fully herein.

        13.     Defendants’ allege Plaintiff incurred an obligation to pay money arising out of a

transaction in which money, property, insurance or services which are the subject of the

transaction are primarily for personal family or household purposes, and is therefore a “debt” as

that term is defined by 15 U.S.C. §1692a(5).

        14.     Asset Management Professionals, LLC (hereafter referred to as “AMP”) sent a

collection letter dated April 10, 2012. A copy of the April 10, 2012 collection communication is

attached hereto as Exhibit A and incorporated herein by reference.

        15.     The April 10, 2012 collection letter stated (a) that the current account holder was

LVNV Funding and the original creditor on the account was HSBC Bank Nevada National

Association (b) the last four digits of the original account were 3369, (c) the last four digits of the

reference number for AMP were 8034, and (4) the Plaintiff owed a balance of $833.82. See Exhibit

A.

        16.     Thereafter, Defendant Northland sent Mrs. Palmer a collection letter dated May



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10, 2012. A copy of the May 10, 2012 collection communication is attached hereto as Exhibit B

and incorporated herein by reference.

       17.     The May 10, 2012 collection letter stated (a) that the current account owner as

LVNV Funding, LLC and the previous creditor as HSBC Bank Nevada Natio/Best Buy; (b) the last

four digits of the original account were 3369, (c) the last four digits of Defendant Northland’s

account were 2848, and (4) the Plaintiff owed a balance of $848.71. See Exhibit B.

       18.     Defendant Northland sent Mrs. Palmer a subsequent collection letter dated

September 14, 2012. A copy of the September 14, 2012collection communication is attached

hereto as Exhibit C and incorporated herein by reference.

       19.     The September 14, 2012 collection letter stated (a) that the current account owner as

LVNV Funding, LLC and the original creditor as HSBC Bank Nevada Natio/Best Buy; (b) the last

four digits of the original account were 3369, (c) the last four digits of Defendant Northland’s

account were 2848, and (4) the Plaintiff owed a balance of $867.72. See Exhibit C.

       20.     Defendant Financial sent a collection letter dated April 17, 2013. A copy of the

April 17, 2013 collection communication is attached hereto as Exhibit D and incorporated herein by

reference.

       21.     The April 17, 2013 collection letter stated (a) that the current client as Resurgent

Capital Services, LP and the current creditor as LVNV Funding LLC regarding Best Buy (b) the last

four digits of the account as 3369, (c) the last four digits of the reference number for FRS as 0868,

and the last four digits of a pin number as 4977 and (4) the Plaintiff owed a balance of $898.96. See

Exhibit D.

       22.     Mrs. Palmer is of the knowledge, information and belief Defendant LVNV is acting

in behalf of Defendant Resurgent.



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       23.      Within a year prior to the filing of this Complaint, Defendant Financial sent a

subsequent collection letter dated October 17, 2013 to Mrs. Palmer.

       24.      The October 17, 2013 collection letter from Defendant Financial was a

“communication” made in connection with collection of a debt and in an attempt to collect a debt as

that term is defined by 15 U.S.C. §1692a(2).          A copy of the October 17, 2013 collection

communication is attached hereto as Exhibit E and incorporated herein by reference.

       25.      The October 17, 2013 collection letter stated (a) that the client as Resurgent Capital

Services, LP and the current creditor as LVNV Funding LLC and the original creditor as HSBC

Bank Nevada, N.A. regarding Best Buy (b) the last four digits of the account as 3369, (c) the last

four digits of an on-line pin number as 4977, and (4) the Plaintiff owed a balance of $925.86,

$770.65 stated as principal and the balance on interest as $155.21. See Exhibit E.

       26.      Only an month later, Mrs. Palmer received a collection letter from Defendant

Northland dated November 9, 2013. The November 9, 2013 collection letter from Defendant

Northland was an additional “communication” made in connection with collection of a debt and in

an attempt to collect a debt as that term is defined by 15 U.S.C. §1692a(2). A copy of the

November 9, 2013 collection communication is attached hereto as Exhibit F and incorporated herein

by reference.

       27.      The November 9, 2013 collection letter stated (a) the current account owner as

LVNV Funding, LLC and the original creditor as HSBC Bank Nevada, N.A.; (b) the last four digits

of the original account number as 3369; (c) the last four digits of Defendant Northland’s account as

9128 and (4) the Plaintiff owed a balance of $929.85. See Exhibit F.

       28.      Thereafter, Mrs. Palmer received a subsequent collection letter from Defendant

Northland. The January 24, 2014 collection letter from Defendant Northland was an additional



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“communication” made in connection with collection of a debt and in an attempt to collect a debt as

that term is defined by 15 U.S.C. §1692a(2).         A copy of the January 24, 2014 collection

communication is attached hereto as Exhibit G and incorporated herein by reference.

        29.     The January 24, 2014 collection letter stated (a) the current account owner as LVNV

Funding, LLC and the original creditor as HSBC Bank Nevada, N.A.; (b) the last four digits of the

original account number as 3369; (c) the last four digits of Defendant Northland’s account as 9128

and (4) the Plaintiff owed a balance of $941.23. See Exhibit G.

        30.     Again, Mrs. Palmer received a collection correspondence from Defendant Northland

dated March 26, 2014. The March 26, 2014collection letter from Defendant Northland was an

additional “communication” made in connection with collection of a debt and in an attempt to

collect a debt as that term is defined by 15 U.S.C. §1692a(2). A copy of the March 26, 2014

collection communication is attached hereto as Exhibit F and incorporated herein by reference.

        31.     The March 26, 2014 collection letter stated (a) the current account owner as LVNV

Funding, LLC and the original creditor as HSBC Bank Nevada, N.A.; (b) the last four digits of the

original account number as 3369; (c) the last four digits of Defendant Northland’s account as 9128

and (4) the Plaintiff owed a balance of $949.51. See Exhibit H.

        32.     Plaintiff has made no payments to the above-referenced account since the April 10,

2012 collection correspondence.



                                   CAUSES OF ACTION
              FIRST VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT:
                                   UNFAIR PRACTICES

        33.     The Plaintiff incorporates the allegations set forth in Paragraphs 1 through 32

above as if set forth fully herein.



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        34.      The acts of Defendants constitute violations of the Fair Debt Collection Practices

Act. Defendant’s violations of the FDCPA include, but are not limited to, the collection of

amounts neither expressly authorized by the agreement creating the debt nor permitted by law in

a violation of 15 U.S.C. §1692f(1).

        35.      The actual amount of the alleged debt is certainly in question. It is overly

confusing as to what amount is owed on this account since the amount of $898.96 is demanded

in Defendant Financial’s April 17, 2013 collection correspondence (see Exhibit D) and then

inexplicably increases four months later to $925.86 in Defendant Financial’s October 17, 2013

collection correspondence1 (See Exhibit E). In less than one month, the balance then increases to

$929.85 via Defendant Northland’s November 9, 2013 collection letter (see Exhibit F). There

again, the balance increases to $941.23 in Defendant Northland’s January 24, 2014 collection

letter (see Exhibit G). Finally, the balance amount increases yet again without reason to $949.51

via Defendant Northland’s March 26, 2014 collection letter (see Exhibit H).

        36.      A simple understanding of accruing interest shows that the amounts demanded by

Defendants are a result of Defendants’ efforts to keep Mrs. Palmer confused as to the amount

owed since they are completely random and accrue incalculable rates of interest that are neither

authorized in the agreement creating the debt nor permitted by law.

        37.      A calculation of the Defendants’ demands of various balances on this account

demonstrates interest accruing on the account at a rate of 9.452 annual percentage rate (APR)

from the collection letter from AMP dated April 10, 2012 (See Exhibit A) seeking $833.82 to

Defendant Northland’s September 14, 2012 collection letter attempting to collect $867.72 (See

Exhibit C).


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 It should be noted that Defendant Financial’s October 17, 2013 collection correspondence is the only collection
correspondence received by Mrs. Palmer which specifies $770.65 as principal and $155.21 as interest.

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       38.     Having said that, one of many violations incurred against Mrs. Palmer under the

FDCPA is when Defendant Financial attempted to collect an unauthorized amount of $925.86 in

its October 17, 2013 collection letter. See Exhibit E.

       39.     Said amount is $26.90 more than the previous collection correspondence sent

from Defendant Financial dated April 17, 2013 whereby it attempted to collect $898.96. See

Exhibit D.

       40.     This increased amount in relation to dates between collection correspondences

sent by Defendant Financial correlates to an APR of 5.968.

       41.     Mrs. Palmer asserts that her interest rate on her HSBC Bank Nevada, N.A account

ending in 3369 was never 5.968 APR.

       42.     Although the October 17, 2013 collection correspondence sent from Defendant

Financial specified principal and interest balances, no such amounts were specified in Defendant

Financial’s April 17, 2013 collection correspondence. See Exhibits D and E.

       43.     Additionally, Defendant Northland committed multiple violations in its collection

activity on behalf of its client, Defendant LVNV, when it attempted to collect unauthorized

amounts from Mrs. Palmer.

       44.     Specifically, Defendant Northland attempted to collect unauthorized amounts of

$929.85 via its collection correspondence dated November 9, 2013 (Exhibit F), $941.23 in its

collection correspondence dated January 24, 2014 and $949.51 in its collection correspondence

dated March 26, 2014 (See Exhibit H).

       45.     Although the balance amount increased $26.90 in six months from Defendant

Financial’s April 17, 2013 and October 17, 2013 collection letters, the balance amount then

increases $3.99 in less than a month from Defendant Financial’s October 17, 2013 collection



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letter to Defendant Northland’s November 9, 2013 collection correspondence attempting to

collect $929.85. See Exhibits E and F.

       46.     This increased amount in relation to collection dates of October 17, 2013 and

November 9, 2013 correlates to a different APR of 6.839.

       47.    Mrs. Palmer asserts that her interest rate on her HSBC Bank Nevada, N.A account

ending in 3369 was never 6.839 APR.

       48.    In Defendant Northland’s subsequent collection correspondence dated January 24,

2014, the amount increases $11.38 from its prior correspondence dated November 9, 2013. See

Exhibits F and G.

       49.    This increased amount in relation to collection dates of November 9, 2013 and

January 24, 2014 correlates to a different APR of 5.878.

       50.    Mrs. Palmer asserts that her interest rate on her HSBC Bank Nevada, N.A account

ending in 3369 was never 5.878 APR.

       51.    Defendant Northland again attempts to collect an inconsistent amount which is

neither provided for in contract nor by law by attempting to collect $949.51 in its March 26,

2014 collection correspondence.

       52.    This is an amount correlates to a 5.264 APR from the January 24, 2014 collection

letter demanding $941.23 to the March, 26, 2014 collection letter demanding $949.51.

       53.    Mrs. Palmer asserts that her interest rate on her HSBC Bank Nevada, N.A account

ending in 3369 was never 5.264 APR.

       54.    By demanding amounts that increase at a rate of interest which is inconsistent

with the contractual rate of interest, and increasing the amount sought on each consecutive

collection communication, Defendants Financial and Northland has confused Mrs. Palmer as to



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 what amount of money she owes on this account.

         55.     Mrs. Palmer asserts that the constantly changing balances demanded by

 Defendants demonstrate that the Defendants do not have actual knowledge of the correct amount

 owed on this account, if any.

         56.     Mrs. Palmer asserts that the constantly changing balances demanded by

 Defendants demonstrate that the Defendants do not have actual knowledge of the correct amount

 of interest applicable to this account, if any.

         57.     Mrs. Palmer further asserts that Defendants are attempting to keep her confused

 as to the amount owed, so that if she were to make payments on this account, she would never

 know the actual amount owed, and instead would keep paying indefinitely on fees, interest, or

 other charges that were never legally owed by her.

         58.     Defendants’ collection letters never assert that interest and/or fees are accruing or

 at what rate interest/fees are accruing, late charges and other charges may vary from day to day,

 and therefore even if she were to pay the full amount demanded of her, Defendants may still seek

 more from her in the future.

         59.     The collection letters from Defendants assert varying balances owed, and after

 calculating the time that had passed between the letters and the change in the amount demanded,

 it is obvious the interest and fees charged were not applied consistently and thus could not be in

 compliance with the original agreement creating the debt.

         60.     As a result of Defendants’ actions, Plaintiff is entitled to an award of statutory

 damages, as well as an award of costs and attorney fees.




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           SECOND VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT:
         THE USE OF FALSE, DECEPTIVE OR MISLEADING REPRESENTATIONS AS TO
                      THE AMOUNT OF THE ALLEGED DEBT

         61.     The Plaintiff incorporates the allegations set forth in Paragraphs 1 through 62

 above as if set forth fully herein.

         62.     The acts of Defendants constitute violations of the FDCPA. Violations by the

 Defendants of the FDCPA include, but are not limited to, the use of false, deceptive or

 misleading representations in connection with the character, amount or legal status of the alleged

 debt, in violation of 15 U.S.C. §1692e(2)(A).

         63.     Each letter from Defendants demand a different amount from the Mrs. Palmer.

         64.     As more fully described in the first cause of action supra, a calculation of the time

 between Defendants’ collection letters and the amounts sought shows that each and every

 collection effort has accrued a different amount of interest, and none of them applied the

 contractual rate of interest or an amount permissible by applicable law.

         65.     By assigning different account balances and interest rates to the same account,

 none of which are the applicable contract rate of interest, Defendants have confused Mrs. Palmer

 as to what amount of money is owed on this account.

         66.     Mrs. Palmer is confused as to who is owed and what amount on this account since

 the Plaintiff has received various collection letters with varying balances and non-contractual

 interest rates applied.

         67.     As a result of Defendants’ actions, Plaintiff is entitled to an award of actual

 damages, statutory damages, as well as an award of costs and attorney fees.




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                                              TRIAL BY JURY

         68.      The Plaintiff incorporates the allegations set forth in Paragraphs 1 through 68

 above as if set forth fully herein.

         69.      Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const.

 amend. 7. Fed.R.Civ.P. 38.



                                       PRAYER FOR RELIEF

         WHEREFORE, PLAINTIFF RESPECTFULLY PRAYS THAT JUDGMENT BE

 ENTERED AGAINST DEFENDANT(S) AND IN FAVOR OF PLAINTIFF AS FOLLOWS:

         a)       That Plaintiff be awarded actual damages pursuant to 15 U.S.C. §1692k(a)(1) in

 an amount to be determined at a trial by a jury;

         b)       That Plaintiff be awarded statutory damages pursuant to 15 U.S.C. §1692k(a)(2);

         c)       That Plaintiff be awarded the costs of litigation including a reasonable attorney

 fee pursuant to 15 U.S.C. §1692k(a)(3);

         d)       That the Court declare all defenses raised by Defendant(s) to be insufficient; and

         e)       That the Court grant such further and additional relief as is just in the

 circumstances.

         Respectfully submitted this the 8th day of August, 2014.

                                                         PEGGY PALMER



                                                BY:      /s/ Brent Travis Strunk_________
                                                         Brent Travis Strunk (BPR 023050)
                                                         Attorney for Plaintiff



 Brackett and Strunk, PLLC
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